Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 1 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 2 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 3 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 4 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 5 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 6 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 7 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 8 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 9 of 10
Case 3:16-cv-00303-ARS Document 1-1 Filed 08/18/16 Page 10 of 10
